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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE INJECTAFER PRODUCTS                          NO. 2:19-CV-00276-WB
LIABILITY LITIGATION
                                                   HON. WENDY BEETLESTONE
THIS DOCUMENT RELATES TO:
ALL CASES



                                            ORDER

       AND NOW, this 5th day of July 2022, upon consideration of the Plaintiff and Defendant

Fact Sheets jointly submitted by the Parties, IT IS ORDERED that the Plaintiff Fact Sheet attached

hereto as Exhibit A, and the Defendant Fact Sheet attached hereto as Exhibit B, are APPROVED.

                                                     BY THE COURT:


                                                          /s/Wendy Beetlestone, J.

                                                     WENDY BEETLESTONE, J.
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       EXHIBIT “A”
        C a s e           2 : 1 9 - c v - 0 0 2 7 6 - W B                                      D o c u m




                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE INJECTAFER PRODUCTS                              NO. 2:19-cv-00276
 LIABILITY LITIGATION

                                                        PLAINTIFF FACT SHEET




                                     INSTRUCTIONS

1. The Plaintiff Fact Sheet (“PFS”) must be answered by all Plaintiffs who are in the
   first bellwether eligible group for case workup in addition to the Plaintiff Profile Form
   that they previously answered.

2. Each question must be answered in full.

   •   If you do not know or cannot recall the information, please indicate that in
       response to the question.

   •   If you know part of the answer, please answer that part, and identify the parts
       you cannot answer.

   •   Do not leave any blanks.

   •   If there is not enough room on the form, attach as many sheets of paper as
       necessary to provide a complete answer.

   •   When you are asked for a name and address, you are required to, 1) provide all
       of the information you have, even if only partial, and, 2) check reasonably
       available sources in order to provide the information.
3. You are providing this information based upon your current personal knowledge.

   •   In responding to the PFS, you are not required to review the medical records that
       were collected for case investigation or litigation purposes.
   •   You are not required to render a medical opinion or to speculate regarding
       conditions or diagnoses you do not understand or that are beyond your expertise.




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          C a s e       2 : 1 9 - c v - 0 0 2 7 6 - W B                                   D o c u m




 I.    CASE INFORMATION

       A.    Caption: ________________________________________________

       B.    Docket Number: _____________________________________________

       C.    Primary Attorney Contact: ___________________________________

 II.   PERSONAL INFORMATION

       A.    Current Full Name: ___________________________________________

             1.     If someone other than the above-named person is completing this
                    form, please state full name and relationship to the person named
                    above: _______________________________________________

       B.    Social Security Number: ____________________

       C.    List physical addresses for the past 10 years, month/years you resided
             there, names of those living with you and your relationship to that person
             (i.e. spouse, significant other, friend, mother, etc.):

Address                                Dates        Co-Residents
                                       Resided




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       D.    Have you ever been married? Yes ____ No _____

             1.      If yes, provide the names of and dates of marriage and divorce or
                     death, if applicable, for each spouse.

                     _____________________________________________________
                     _____________________________________________________

       E.    Do you or have you ever had children? Yes ____ No _____

             1.      If yes, please provide the following information with respect to each
                     child:

Full Name of Child                         Month/Year of          Is the child dependent
                                           Birth                  on you?




       F.    Beginning with high school, identify the following for any schools that you
             have attended, even if you did not graduate or complete a program:

Name of School        Address                   Dates of        Degree        Major or
                                                Attendance      Awarded,      Primary
                                                MM/YYYY         if any        Field of
                                                                              Study




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      G.   Provide the following information for any employment over the past ten
           years through present. Only provide salary information if you are making
           or anticipate making a claim for lost wages:

Employer Name    Addresses         Job Title /            Dates of          Salary /
& Name of                          Description of         Employment        Rate of
Supervisor                         Duties                 MM/YYYY           Pay




      H.   Have you ever served in any branch of the military? Yes ___ No ____

           1.    If yes, please provide the following information:




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            a.     Branch and dates of service, rank upon discharges, and the
                   type of discharge you received:
                   ________________________________________________
                   ________________________________________________

            b.     Were you discharged from the military at any time for any
                   reason relating to a medical, physical, or psychological
                   condition? Yes ____ No _____

                   1)     If yes, state the condition:
                          __________________________________________

I.   Within the last ten years, have you ever been convicted of, or pleaded
     guilty to, a felony and/or a crime of fraud or dishonesty? Yes ___ No ___

     1.     If yes, please provide the crime, the date of conviction, the
            jurisdiction/location of conviction, and if you were incarcerated, the
            length of incarceration.

            _____________________________________________________

J.   Have you been a party to a lawsuit in the past 10 years other than this
     case?

     Yes ___ No ___

     If yes, describe the nature of the case(s), the court(s) where it was filed,
     whether you were the plaintiff or defendant, and the name of your lawyer.



K.   Within the past ten years, have you ever filed a claim for or requested any
     type of benefits related to a short-term and/or long-term inability to work
     (either related or unrelated to any of the injuries or symptoms you allege
     are related to your case), including worker’s compensation, Social
     Security disability, private disability insurance, or veteran’s disability?

     Yes ___ No ___

     If yes, provide the following information for each type of claim:

     Date filed or requested: ___________

     Name and address of company or agency where filed or requested: _____

     ___________________________________________________________

     Nature of disability: ___________________________________________


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                Granted ___ Denied ___

                If granted, explain what you were awarded: ________________________

                ___________________________________________________________

                If denied, explain why you were denied: ___________________________

                ___________________________________________________________

                Did you appeal your denial? Yes ___ No ___

                If so, is that appeal still pending or what was the outcome? ___________

                __________________________________________________________

III.    HEALTHCARE INFORMATION1

        Identify the following:

        A.      To the extent a healthcare provider was not already identified on the
                Plaintiff Profile Form, list all healthcare providers from 7 years before your
                first use of Injectafer to present:

Name of provider Address                               Reason seen           Approximate date range
and specialty




1
  Defendants reserve the right to seek additional medical records beyond the time periods referenced in
this section.

                                                   6
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      B.       All pharmacies (including online or mail order) from which you received
               prescription drugs from 7 years before your first use of Injectafer to
               present:

Name of pharmacy                Address                              Approximate Date Range




      C.       All laboratories from which you’ve had blood drawn from 7 years before
               the first use of Injectafer to the present:

Name of laboratory       Address                    Healthcare           Approximate Date
                                                    Provider Who         Range
                                                    Referred You




      D.       Identify all medications (prescription and non-prescription), drugs (legal or
               illegal) and vitamins or supplements used from 7 years before you first
               used Injectafer to now.

Name of medication, drug, Approximate               Name of              Why you took it
vitamin, or supplement    Dates                     prescriber, if
                                                    any




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Name of medication, drug, Approximate         Name of             Why you took it
vitamin, or supplement    Dates               prescriber, if
                                              any




      E.   At any time during 7 years before your first Injectafer prescription to the
           onset of your alleged injuries, did you practice any of the following
           specialty diets?

           Vegetarian ____             Vegan ____              Pescatarian ___

           Low Phosphorous ____        Keto/Low Carb ___

           1.     If yes to any of the above, did you do so at the recommendation or
                  prescription by a healthcare provider?

                  Yes ___       No ___

                  a.     If yes, please identify: _____________________________

      F.   Beginning from 7 years before you first used Injectafer, have you suffered
           any chronic medical conditions or been under the regular care of a
           healthcare provider for any conditions other than anemia, iron deficiency,
           or another condition for which Injectafer was prescribed?

           Yes ___ No ___

           1.     If yes, please describe: _______________________________

                  __________________________________________________

      G.   Do you have any blood related family members (defined here as blood-
           related parents, siblings, aunts/uncles, or grandparents) who have had
           hypophosphatemia (HPP)?

           Yes ___ No ___       Unknown _____

           1.     If yes, please identify the person(s), their relation to you, and
                  condition(s): ______________________________________




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       C a s e          2 : 1 9 - c v - 0 0 2 7 6 - W B                                     D o c u m




       H.    To the extent not already identified in the Plaintiff Profile Form, list all
             healthcare providers who have treated you for anemia, iron deficiency or
             any other underlying illness for which you took Injectafer.

Name of provider Address                        Specialty         Approximate Date
and office                                                        Range




       I.    To the extent not already identified on the Plaintiff Profile Form, all
             hospitals, urgent care centers, clinics, infusion centers, or other healthcare
             facilities where you have received treatment either inpatient, outpatient, or
             in the emergency room from 7 years before your first use of Injectafer to
             present.

Name of Facility       Address                  Reason for        Approx.     Referring
                                                Treatment         Date        Healthcare
                                                                  Range       Provider, if
                                                                              any




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       J.   Identify all mental health hospitals or facilities, psychiatrists, psychologists,
            counselors or others who treated you for mental health issues from 7
            years before your first use of Injectafer to present.

Name                   Address                   Reason for               Approximate Date
                                                 Treatment                Range




       K.   All medical insurance carriers, including private and federal and/or state
            government based programs (Medicare, Medicaid, etc.), that you have
            used from 7 years before your first use of Injectafer to present.

Name                 Address                Name of primary        Approximate Date
                                            insured                Range




IV.    IV IRON USE

       A.   When were you first diagnosed with the condition(s) for which your
            healthcare provider prescribed Injectafer to treat?

            1.     Which healthcare provider(s) initially diagnosed you with this
                   condition? ______________________________________

       B.   Not including Injectafer, what iron treatments have you used (include pills,
            liquid and IV forms, and prescription and over-the-counter)?




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Name of medicine           Approximate       Who            Did you have side
                           Dates             prescribed     effects?




      C.    Have you ever had a blood transfusion from 7 years before your first use
            of Injectafer to present?

            Yes ___ No ___

            1.      If yes, when and where (include all instances if more than one)?
                    ____________________________________________________

                    ____________________________________________________

      D.    Have you ever had any of the following?

       Condition                                            Yes    No     Unknown

       Hypophosphatemia or low levels of phosphorus in
       your blood

       Osteomalacia or other bone disorder

       Iron deficiency, iron deficiency anemia, anemia of
       chronic disease, or any other type of anemia

       Restless Leg Syndrome

       Pica (craving non-food items, such as ice or dirt)

       Vitamin or mineral deficiency (e.g., Vitamin D,
       calcium, etc.)

       Alcohol use disorder/alcoholism

       Malnutrition or any other condition that affects
       absorption of nutrients

       Eating disorders (e.g., anorexia, bulimia)

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Condition                                                       Yes       No       Unknown

Feeding tube

Bariatric surgery (includes various types of
surgery for obesity such as gastric bypass)

Hyperparathyroidism

Sepsis

Diabetes ketoacidosis

Chronic kidney disease with dialysis, chronic
kidney disease without dialysis, kidney transplant,
and Fanconi syndrome

Any medical condition that resulted in the use of
any asthma medication(s)

Respiratory alkalosis

Lupus

Inflammatory bowel disease, including Crohn's
disease or Ulcerative Colitis

Cancer

Heavy uterine bleeding/menorrhagia, or severe
postpartum or pregnancy related blood loss



        1.       If you responded “yes” to any of the conditions listed above, provide
                 the following information for each:

Condition                             Healthcare provider            Approximate dates
                                      who treated you




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V.      CLAIM INFORMATION

        A.      For each of the physical injuries you are claiming in this lawsuit were
                caused by your use of Injectafer, indicate when each one started and
                stopped:

    Injury                            Date started        Date stopped




                1.      Had you ever experienced any of the physical injuries you are
                        claiming in this lawsuit from 10 years before your first use of
                        Injectafer?2

                        Yes ____ No ____

                        a.      If yes, please list which injury, the dates you experienced the
                                injury, and identify any healthcare provider and address from
                                whom you sought treatment for that injury to the extent not
                                previously provided above or in the Plaintiff Profile Form:
                                _________________________________________

                                ______________________________________________




2
  Defendants reserve the right to seek additional medical records beyond the time period referenced in
this question.

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     2.    Has any healthcare provider told you that any of the injuries you are
           claiming in this lawsuit or any symptom thereof are the result of
           something other than Injectafer or that the cause is unknown?

           Yes _____ No _____

           a.     If yes, please describe who told you, which alleged injuries
                  or symptom, and when and what you were told:

                  ________________________________________________

                  ________________________________________________

B.   Only if you are claiming psychological or emotional injuries, please
     describe those below. Describe the type of injury, the diagnosing and/or
     treating health care provider (if diagnosed and/or treated), any treatment
     you have undergone, the date of initial onset, and whether symptoms exist
     presently. If you are not claiming psychological or emotional injuries, put
     “N/A” below – do not leave it blank.

     __________________________________________________________

     __________________________________________________________

     __________________________________________________________

     __________________________________________________________

C.   If you were diagnosed with hypophosphatemia (HPP):

     1.    When were you diagnosed?

           Date: ______ Not applicable: ____

     2.    When was the last time you had a below normal blood phosphorus
           level? _________________

     3.    Have you discussed with any healthcare provider whether you are
           or are not at risk for having HPP in the future?

           Yes ___ No ____

           a.     If yes, which healthcare provider(s)? ___________________

           b.     What did they tell you? _____________________________




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D.   Money Damages

     1.    If you are claiming medical expenses:

           a.    State the total amount claimed: _______________

           b.    Describe how you calculated this number: ________

                 __________________________________________

                 __________________________________________

     2.    If you are claiming lost wages and/or lost earning capacity:

           a.    State the total amount you are claiming: _______________

           b.    Describe how you calculated this number (e.g., number of
                 days off work times pay, etc.): _______________________

                 _______________________________________________

                 _______________________________________________

     3.    If you are claiming any other out-of-pocket expenses:

           a.    State the total amount you are claiming: ______________

           b.    Describe how you calculated this number: ____________

                 ______________________________________________

                 ______________________________________________

     4.    If you are claiming any other damages than those identified in D.1-3
           above:

           a.    Identify each additional category of damages you are
                 seeking in this lawsuit, provide the monetary amount for any
                 category of economic damages, and describe how you
                 calculated any economic damages:            ____________

                 ______________________________________________

                 ______________________________________________




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      E.   Only if your spouse is a Plaintiff making a claim for loss of consortium:

           1.     Spouse’s name: _____________________________________

           2.     Spouse’s date of birth: ________________________________

           3.     Spouse’s occupation for the last ten years: _________________

           4.     Detailed description of Spouse’s claim: ___________________

                  ___________________________________________________

VI.   INJECTAFER

      A.   Did you see any written, televised or Internet-based advertising about
           Injectafer? (This question includes advertising by the drug manufacturer
           or attorneys.)

           Yes ___ No ___       Do Not Recall ___

           If yes, please describe what, where and approximately when you saw it
           (answering separately if more than one): _______________________

           _________________________________________________________

           _________________________________________________________

      B.   With the exception of any information provided in response to VI.A above,
           did you see anything else in writing (hard copy or electronic) about
           Injectafer before any of your injections? Yes ___ No ___ Do Not
           Recall ______

           If yes, indicate whether you saw any of the following:

           1.     Injectafer labeling/Prescribing Information: Yes ___ No ___       Do
                  Not Recall ____

           2.     Injectafer Patient Information: Yes ___ No ___ Do Not Recall
                  ____

           3.     Internet articles, posts (including social media or blogs), or other
                  online information:

                  Yes ___ No ___       Do Not Recall ____

           4.     Anything given to you by your healthcare provider or the infusion
                  center: Yes ___ No ___ Do Not Recall ____

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              5.     Other: Yes ___ No ___       Do Not Recall______

                     If yes, please describe: ________________________________

        C.    Did your healthcare provider(s) or the infusion center(s) tell you about
              potential side effects of Injectafer before any of your injections?

              Yes ___ No ___ Do not Recall ____ If yes, please describe what they
              told you: _______

              ________________________________________________________

        D.    Have you ever visited any websites, chat rooms, or other online groups
              about Injectafer? Yes ___ No ___ Do not Recall ___

              If yes, please identify each of them and approximately when you visited:

              ________________________________________________________

              ________________________________________________________

VII.    FACT WITNESSES

                Please identify persons who you believe possess information concerning
        your claimed injuries and/or current medical condition (fact witnesses). You do
        not need to list healthcare providers who are already identified above or in the
        Plaintiff Profile Form.

         Witness                                         Relationship Brief
         Name                                            to you       description of
                                                                      their
                                                                      knowledge




VIII.   AUTHORIZATIONS

       Please sign and date the attached authorizations that are applicable to you. To
the extent not previously provided, sign separate authorizations for each healthcare
provider and facility identified above in Sections III.A-D, H-J. Make copies or request
additional copies from your attorney if you need more than what is attached.

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IX.   DOCUMENTS

      To the extent not already provided with the Plaintiff Profile Form or otherwise
through discovery, please indicate whether you are in the possession of the following
documents. If yes, please provide them to your attorney as soon as possible.

              DOCUMENTS                                                Yes   No

       Medical records in your possession corresponding to the
       healthcare providers and facilities identified above.

       Pharmacy records in your possession corresponding to
       the pharmacies, including online or mail order, identified
       above.

       If you have applied for disability benefits per section II.K,
       all records of the application or request and supporting
       documents, non-privileged communications between
       you/your representative and the entity where you applied,
       documentation of the final result, and all appeal related
       documents.

       Copies of medical insurance cards corresponding to
       those identified in response to section III.K.

       Medical insurance records (including Explanation of
       Benefits/EOB statements, bills, etc.) in your possession
       corresponding to those identified in response to section
       III.K.

       Education records in your possession corresponding to
       those identified in response to section II.F if you attended
       any of these institutions within 5 years prior to your
       Injectafer use and 6 months after your alleged injuries
       resolved.

       All non-privileged correspondence between you and any
       other person regarding Injectafer, including hard copy,
       electronic (such as emails or patient portal messages)
       and social media posts/communications of any kind.

       If you are claiming medical expenses in section V.D.1,
       copies of all medical bills, receipts, Explanation of
       Benefits (EOBs), and any other supporting documentation
       to the extent not already provided.




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       DOCUMENTS                                                Yes   No

If you are claiming lost wages or loss of earning capacity
in section V.D.1, employment records in your possession
from 5 years before your first use of Injectafer to present
and copies of all records to support your claim, including
but not limited to, records or documents to or from your
employer, and a signed authorization for your Social
Security Earnings report (attached).

If you are claiming lost wages or loss of earning capacity
in section V.D.1, copies of your federal income tax returns
from 5 years before your claimed injuries to present, and
signed authorizations (attached) for obtaining them.

All non-privileged diaries, journals, blogs, notes,
calendars, or other hard copy or electronic writings or
recordings by you about Injectafer, your claimed injuries,
or the condition Injectafer was prescribed to treat.

Any non-privileged electronically-stored information
(including printouts of same) including electronic mail (e-
mail), Internet postings or messages (including all forms
of social media messages) to or from you regarding iron
medications generally, Injectafer specifically or relating to
your alleged injuries.
All written, audio, television or video advertisements
(including online) that you saw about Injectafer, including
those by the manufacturer and those by attorneys.

Photographs or audio or video recordings of you that you
either believe are related to your Injectafer claim or that
you intend to rely on to support your claim.




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                               VERIFICATION

        I hereby verify that the facts set forth in the foregoing Plaintiff Fact Sheet
are true and correct to the best of my knowledge, information, and belief. In
understand these statements are subject to the penalties relating to unsworn
falsification to authorities.

                                            __________________________
                                            Signature



                                            ___________________________
                                            Printed Name

Date: _______________




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              CVS Pharmacy DISCLOSURE AUTHORIZATION FORM
                            One CVS Drive, Woonsocket, RI 02895
                                    Fax (401) 652-1593

PATIENT REQUESTING DISCLOSURE
Name: __________________________________________________________
Address: ________________________________________________________
Address: ________________________________________________________
Date of Birth _________________________

I hereby authorize CVS Pharmacy to disclose my Patient Prescription Record (PPR), reflecting my
prescription history and any other pharmacy services I have received from CVS Pharmacy as set
forth below:

1.     My Patient Prescription Record (PPR), may be disclosed to the following person(s)
       categories of person or entities:
       Name: ________________________________________________________
               Bowman and Brooke LLP and/or its agent, Discovery Resource
       Address: ______________________________________________________
                 825 West 11th Street, Austin, TX 78701
       Address: ______________________________________________________

2.         Purpose of the release of this information

           At the request of Patient/Patient’s personal representative.
       X           Legal/litigation
           Other: _____________________________________________________

3.     I understand that my PPR may include information related to treatment of mental health
       condition, alcohol or substance abuse, HIV or AIDS, sexually transmitted diseases or
       communicable diseases. I understand that the information, if any, pertaining to any of the
       conditions described above may be released.

           I authorize the release of this information.
           I do not authorize the release of this information.

4.     I understand that I may cancel this authorization at any time by writing to CVS Pharmacy
       Privacy Office, One CVS Drive Woonsocket, RI 02895, or fax to 401-765-9304, except to the
       extent that CVS Pharmacy has taken action in reliance on this authorization.

5.     I understand that signing this authorization is voluntary and that this authorization will not
       affect my ability to obtain treatment from the CVS Pharmacy, any payment for treatment or
       enrollment or eligibility for benefits. A photocopy or facsimile of this signed Authorization is as
       valid as the original and will be accepted.

6.     I understand that if the person or entity that receives my PPR is not required to comply with
       the applicable privacy regulations, the information described above may
       be redisclosed by the recipient and no longer be protected by those regulations.

7.     I understand that I have the right to receive a copy of this Authorization.

8.     This authorization will expire 6 months from the date I sign it as shown below on this
       authorization unless I enter a different expiration date here ____________________.

       _______________________________________                _________________________
       Signature of Patient or Personal Representative *      Date

       *If signed by someone other than the patient, please explain your authority to act on behalf of
       the patient: _________________________________________________________________
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                   Authorization to Use and Disclose Health Information
     PLEASE PRINT CLEARLY

     Patient’s Name:                              _        ID Number________________________

     Address: __________________________                   SSN: ____________________________
            Street
            ___________________________                    Date of Birth: _________/_____/________
            City, State, Zip                                                MM       DD     YYYY

                                Plan Sponsor/Employer (if available) ____________________________

                                [ ] Check here if Plan Sponsor is Department of Defense




I authorize Express Scripts, Inc. or one of its subsidiaries or affiliates to use or disclose my health information as
described below. I understand that the information I authorize a person or entity to disclose may be shared with other
people or entities and no longer protected by federal privacy regulations.

1.       The following health information may be used or disclosed:
         [X] PBM Prescription Claims Information
         [ ] Only Mail Order Pharmacy Records are requested

2.       The health information identified above may be used or disclosed for the following purpose(s):

           Legal/Litigation



3.       The health information identified above may only be disclosed to the following individual(s) or
         organization(s):

         Name:                Bowman and Brooke LLP and/or its agent Discovery Resource

         Address: 825 West 11th Street, Austin, TX 78701

         E-mail Address

4.       I understand that the health information that I authorized to be used or disclosed may include information
         relating to sexually transmitted disease, acquired immunodeficiency syndrome (AIDS), human
         immunodeficiency virus (HIV), mental health or substance abuse.

5.       I understand that this authorization is voluntary and that I may refuse to sign this authorization. I understand
         that my refusal to sign this authorization does not affect payment for services, my ability to obtain treatment,
         or my eligibility for benefits or enrollment.

6.       I understand that if this authorization is for the disclosure of health information for a research study, I may
         refuse to sign this authorization. I understand that if I refuse to sign this authorization, I may not receive the
         treatment related to the research study.



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7.         I understand that I may revoke this authorization at any time provided that the information has not already
           been disclosed. Information that has already been disclosed may not be further disclosed by Express Scripts,
           Inc. once the authorization has been revoked. I understand that if I choose to revoke this authorization, I must
           do so in writing to the following address:

           Express Scripts, Inc.
           Claims Dept – Records/B402-01
           8931 Springdale Avenue
           St. Louis, MO 63134
           FAX: 866-254-2313

8.         I understand that I have a right to request and receive a copy of Express Scripts’ Notice of Privacy Practices
           at www.express-scripts.com.

9.         A photocopy of this authorization is as valid as the original.

10.        I understand that this authorization will expire ten (10) years from the date signed below.


      SIGNATURE


      Signature of patient or patient’s personal representative                        Date


      Printed name of patient or patient’s personal representative

      If signed by patient’s personal representative, please complete the following and attach supporting
      documentation:

      Relationship to patient:

      Authority to act for the patient:


Prescription Claims Information is readily available for the previous ten years. Patients wanting prescription
claim information sent to the address on file should call the number on the back of the prescription identification card

Members wanting PBM Prescription Claim Information sent to the address on file free of charge should call the
number on the back of the prescription identification card. The Express Scripts website also provides all members the
ability to access and print PBM Prescription Claim Information for free for the last 24 months of service by logging
into www.express-scripts.com.

Please return the completed form to the address below. For those requests for PBM Prescription Claims Information
not submitted by a member’s legal personal representative, please also submit a check or money order for the non-
refundable fee of $90.00.

           Express Scripts, Inc.
           Claims Dept – Records/B402-01
           8931 Springdale Avenue
           St. Louis MO 63134
           Fax 866-254-2313

           Email: Prescriptionhistoryrequests@express-scripts.com

Please allow 6-8 weeks for the request to be processed. For questions or concerns, please call toll-free 800-332-5455,
ext 326584.




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                Giant Eagle




X




    X

         Bowman and Brooke LLP and/or its agent, Discovery Resource




        X                       Legal/Litigation
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           AUTHORIZATION TO USE AND DISCLOSE PROTECTED HEALTH INFORMATION
    OptumRx®, on behalf of itself and afﬁliated companies, uses this form to get your permission to use and/or disclose your protected
    health information (PHI) to your authorized representative. This authorization does not allow your authorized representative to make
    any of your treatment decisions or direct care decisions. If you want help with your health care and treatment decisions,
    you must get additional legal documentation.

    Use this form to request authorization for the release of PHI, including patient proﬁle or prescription records, to your authorized
    representative(s) named in Section 2 below. When ﬁlling out this form, provide your most current information.

1          Member information (please provide current information)
    Last Name                                                                         First Name                               MI

    Mailing Street Address                                                                                                     Apt. #

    City                                                              State                                  ZIP

    Member ID Number

    Date of Birth (mm/dd/yyyy)                                        Phone Number with Area Code



2          Authorized representative’s information
    I authorize OptumRx to use and disclose my PHI to the person(s) or organization(s) named below. I understand that there are certain
    parties that must protect the privacy of my PHI. These are health care providers and other parties who are required to do so under
    federal or related state laws. If my authorized representative is not a health care provider or another party required to protect my PHI, it
    could be discussed and/or released by my authorized representative without my permission.

    Authorized representative #1
    Name                                                                              Phone Number with Area Code
     Bowman and Brooke LLP and/or its agent Discovery Resource                        512-329-8080

    Mailing Street Address                                                                                                     Apt. #
     825 West 11th Street

    City                                                              State                                  ZIP
     Austin                                                                   Texas                                 78701

    Relationship to Member
     Agent of Bowman and Brooke LLP, opposing counsel in legal suit


    Authorized representative #2
    Name                                                                              Phone Number with Area Code

    Mailing Street Address                                                                                                     Apt. #

    City                                                              State                                  ZIP

    Relationship to Member




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3          Description of information to use or disclose
           Please describe the information covered by this authorization.
           I understand that by leaving this section blank, I am authorizing the disclosure of all of my PHI, including my patient proﬁle and
           pharmaceutical records, to my authorized representative(s).
           Description:



4          Purpose of disclosure
           The purpose of this authorization is to assist me in receiving my health plan beneﬁts and make payments for my health plan beneﬁts.
           If there are other purposes or reasons for this authorization, they are provided below.
           Purpose:
                          Legal suit
5          Expiration and revocation
           I understand that I have the right to end this authorization at any time. I understand that if I do not wish the person(s) named in
           Section 2 to remain my authorized representative, I must cancel this authorization in writing and send such notice to the address
           listed below. I understand that a cancellation of this authorization has no effect on disclosures or uses of PHI by OptumRx before
           receiving my cancellation notice.
           I understand that this authorization will expire on (insert date):_____________________ . If I do not provide an expiration date,
           I am aware that this authorization is valid for sixty (60) months from the date of my signature as noted below.

6          Authorization and signature of individual or individual’s LEGAL representative
    I have read and understand the content of this Authorization to Use and Disclose PHI. This authorization correctly describes my
    request of OptumRx. I understand that by signing this form, I am voluntarily giving my permission for OptumRx to use and/or
    disclose my PHI to the person(s) named in Section 2. Any services otherwise provided to me by OptumRx will not be affected by my
    decision to provide this authorization. I may refuse to sign, and OptumRx will not condition my treatment, payment, enrollment or
    eligibility for beneﬁts on my decision to sign or not sign this authorization.

    X __________________________________________________________________________________________                          ___________________
      Member Signature                                                                                                    Date

    X __________________________________________________________________________________________                          ___________________
      Witness Signature                                                                                                   Date
      (A witness signature is only needed if the member is unable to sign or the witness is an interpreter)
    If this authorization is signed on the member’s behalf by his/her legal representative, please attach documentation of legal
    representative designation and complete the following:

    Legal Representative’s Name                                                                            Date

    Mailing Street Address                                                                                                         Apt. #

    City                                                       State                                       ZIP

    Relationship to Member


           Please mail the completed form to: OptumRx,Attn: Commitment and Follow Up
7          Team, 6860 West 115th Street, Mail Stop: KS015-1000, Overland Park, KS 66211-2457
           or fax to 1-866-889-2116.
           Please keep a copy of this form for your records. You also have the right to receive a copy of this authorization.




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Bowman and Brooke LLP and/or its agent Discovery Resource
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            AUTHORIZATION – FOR RELEASE OF INFORMATION TO THIRD PARTY

This Authorization is for use, pursuant to the HIPAA privacy rules, if you are authorizing the
release of medical/health information to a third party, such as a housing authority, insurance
company, or law office. You understand these records may contain information created by other
persons or entities, including physicians and other health care providers as well as information
regarding the use of drug and alcohol treatment services, HIV/AIDS treatment, mental health
services (excluding psychotherapy notes), reproductive health services, and treatment for sexually
transmitted diseases.

Section 1: Patient’s printed information
  Last name                                                     First name                  MI
FFFFFFFFFFFFFFFF                                                FFFFFFFFF                   F
  DOB
FF/FF/FFFF
  Street address
FFFFFFFFFFFFFFFFFFFFFFFFFFFFF
  City                                                                  State    Zip code
FFFFFFFFFFFFFFFFFFF                                                     FF       FFFFF
  Telephone
(FFF) FFF-FFFF
  Email address
FFFFFFFFFFFFFFFFFFFFFFFFFFFFF
List the location you obtain most of your prescriptions:
Section 2: Person authorized to receive information
  Last name                                                     First name                  MI
FFFFFFFFFFFFFFFF
D I S C O V E R Y                                               FFFFFFFFF
                                                                R E S O U R C E             F
  Street address
FFFFFFFFFFFFFF
8 2 5 W 1 1 t h S T R FFFFFFF
                      FFFFFFFFFFFFFF
                      E E T   FFFFFFF
  City                                                                  State    Zip code
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A U S T I N                                                             FF
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  Telephone
 7 1 3 FFF-FFFF
(FFF)  2 2 3 3 3 0 0
  Email address
FFFFFFFFFFFFFFFFFFFFFFFFFFFFF
Relationship: F Spouse F Parent F Child F Caregiver F
                                                    X Other (list): OPPOSING
                                                                                      COUNSEL VENDOR
Section 3: Describe or list the information that you are asking us to release
FFFFFFFFFFFFFFFFFFFFFFFFFFFFF
M E D I C A L   R E C O R D S
FFFFFFFFFFFFFFFFFFFFFFFFFFFFF
P H A R M A C Y   R E C O R D S

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Section 4: List the specific purpose for requesting this information
FFFFFFFFFFFFFFFFFFFFFFFFFFFFF
L E G A L
FFFFFFFFFFFFFFFFFFFFFFFFFFFFF
Section 5: Expiration required (see instructions)

This authorization expires:          FF/FF/FFFF                or event:
For Maryland residents only: This Authorization will expire one year from the date listed
below in Section 7.
Section 6: Information regarding this Authorization
• You have the right to revoke this Authorization, in writing to the Privacy Office, at any time.
  The revocation is only effective after it is received and logged by the Privacy Office. Any
  use or disclosure made prior to a revocation is not included as part of the revocation.
• Refer to our Notice of Privacy Practices for permitted uses and disclosures of protected
  health information (“PHI”). You may obtain a copy of this Notice from the Privacy Office
  or on www.walgreens.com. Please keep a copy of this authorization for your records.
• Once PHI is disclosed to others, it may be redisclosed by them to persons or entities that are
  not subject to the privacy regulations, which means that the PHI may no longer be protected
  by regulations.
• Privacy regulations prohibit the conditioning of treatment, payment, enrollment, or
  eligibility for benefits on signing this Authorization.
• This Authorization must be signed and dated by the patient or signed and dated by the
  patient’s personal representative to include a description of that person’s ability to act on
  behalf of the patient.
Section 7: Signature

I,                              , by signing below, authorize Walgreens to use or disclose my
protected health information as described above.

                                                                       FF/FF/FFFF
Signature                                                                  Date
Section 8: If this Authorization is signed by the patient’s personal representative, please
explain your authority to act (see instructions for additional information that may be required)


Section 9: Mail this completed and signed form to: Walgreens Custodian of Records, 1901
East Voorhees St., MS 735, Danville, Illinois 61834; Phone: (217) 554-8949;
Fax: (217) 554-8955.

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Authorization to Release Private Health Information

Legal
                                                                                                   702 SW 8th Street
                                                                                                   Bentonville, AR 72716-0215
                                                                                                   Phone 479.273.4505
HIPAA Team                                                                                         Fax 479.204.9655
                                                                                                   rxlegal@walmartlegal.com
Section 1: Patient Information
Patient Name:                                                                   Date of Birth:
Address:
City:                             State:                      Zip:              Phone:
Section 2: Requestor and Purpose                (If to be released to patient check here and continue with Section 3)
Individual or Entity: BOWMAN AND BROOK     LLP OR ITS'       Person Receiving Information: AUTHORIZED AGENT, DISCOVERY RESOURCE
                                                             xxxxxxxxxxxxxxxxxxxxxxxxxxxx

Address:     825 WEST 11TH STREET

City:    AUSTIN                  State:    TX                Zip:   78701       Phone:   512-329-8080

Purpose of Release:        Patient Request               X
                                                      Legal/Attorney Letter       Insurance       Housing
Section 3: Information to be Released (Check All That Apply)
I authorize Walmart to release of the following health information:
    Medical Expenses Summary (List of all prescriptions with expense information)
 x Designated Record Set (Entire medical record maintained by the pharmacy)
   Specific Prescription(s): _____________________________________________________________________________
   One Line Summary (total number of prescriptions and out-of-pocket expenses)
For the following dates of service:
    All dates of service x From _______________________________ to _____________________________________
From the following facilities:
x All locations where I have had prescriptions filled
   Only the following location(s) (include city and state): ______________________________________________
 Section 4: Expiration Date or Event
 This authorization will remain in effect
     Until the following date:          _____________________________________________________
xx Until the following event occurs: THE     CONCLUSION OF THE LITIGATION.
                                        _____________________________________________________
     Until one year from the date of my signature below.
 Section 5: Understandings
 (a) I understand that signing this authorization is voluntary. Receipt of pharmacy services will not be conditioned upon
 my authorization of this disclosure. (45 C.F.R. 164.508(c)(2)(ii))
 (b) I understand that if I authorize the release of my health information to a recipient who is not legally required to keep it
 confidential, the information may be redisclosed and may no longer be protected by federal or state privacy laws. (45
 C.F.R. 164.508(c)(2)(iii))
 (c) I have the right to revoke this authorization in writing at any time by notifying the Walmart Legal Department. The
 revocation will not apply to the extent that (i) Walmart has already released health information based on this authorization
 or (ii) this authorization was obtained as a condition to the patient obtaining insurance or for an insurer to contest a claim.
 (45 C.F.R. 164.508(c)(2)(i))
 (d) I understand that by signing below I authorize the release of records that may include: HIV/AIDS related information
 and or records; Mental Health Information and or records; Drug/Alcohol Diagnosis and Treatment Information; Pregnancy
 and Family Planning Information; Sexually Transmitted Disease Information.
Section 6: Signature and Date


____________________________________________________                      _________________________________________
Signature of Patient or Personal Representative                            Date
If you have signed this as a legally authorized representative of the patient, please print your name and relationship to the
patient below. If your relationship is anything other than parent of a minor, please include documentation of your authority
to sign for the patient’s records.

____________________________________________                                ____________________________________________
Name of Personal Representative (please print)                              Relationship to Patient (parent, guardian, etc.)
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                              Case 2:19-cv-00276-WB Document 259 Filed 07/05/22 Page 40 of 54

Form     4506                                                  Request for Copy of Tax Return
(Novmeber 2021)                                  a Do     not sign this form unless all applicable lines have been completed.                             OMB No. 1545-0429
                                                         a Request  may be rejected if the form is incomplete or illegible.
Department of the Treasury
                                                      a For more information about Form 4506, visit www.irs.gov/form4506.
Internal Revenue Service

Tip: Get faster service: Online at www.irs.gov, Get Your Tax Record (Get Transcript) or by calling 1-800-908-9946 for specialized assistance. We
have teams available to assist. Note: Taxpayers may register to use Get Transcript to view, print, or download the following transcript types: Tax
Return Transcript (shows most line items including Adjusted Gross Income (AGI) from your original Form 1040-series tax return as filed, along with
any forms and schedules), Tax Account Transcript (shows basic data such as return type, marital status, AGI, taxable income and all payment types),
Record of Account Transcript (combines the tax return and tax account transcripts into one complete transcript), Wage and Income Transcript
(shows data from information returns we receive such as Forms W-2, 1099, 1098 and Form 5498), and Verification of Non-filing Letter (provides
proof that the IRS has no record of a filed Form 1040-series tax return for the year you request).
   1a Name shown on tax return. If a joint return, enter the name shown first.                             1b First social security number on tax return,
                                                                                                              individual taxpayer identification number, or
                                                                                                              employer identification number (see instructions)


   2a If a joint return, enter spouse’s name shown on tax return.                                          2b Second social security number or individual
                                                                                                              taxpayer identification number if joint tax return


   3 Current name, address (including apt., room, or suite no.), city, state, and ZIP code (see instructions)



   4 Previous address shown on the last return filed if different from line 3 (see instructions)



   5 If the tax return is to be mailed to a third party (such as a mortgage company), enter the third party’s name, address, and telephone number.



Caution: If the tax return is being sent to the third party, ensure that lines 5 through 7 are completed before signing. (see instructions).
  6   Tax return requested. Form 1040, 1120, 941, etc. and all attachments as originally submitted to the IRS, including Form(s) W-2,
       schedules, or amended returns. Copies of Forms 1040, 1040A, and 1040EZ are generally available for 7 years from filing before they are
       destroyed by law. Other returns may be available for a longer period of time. Enter only one return number. If you need more than one
       type of return, you must complete another Form 4506. a
         Note: If the copies must be certified for court or administrative proceedings, check here .                 .   .   .   .   .   .   .   .    .       .   .    .   .   .
   7     Year or period requested. Enter the ending date of the tax year or period using the mm/dd/yyyy format (see instructions).
                       /        /                                    /       /                         /         /                                        /            /

                       /        /                                    /       /                         /         /                                        /            /

   8     Fee. There is a $43 fee for each return requested. Full payment must be included with your request or it will
         be rejected. Make your check or money order payable to “United States Treasury.” Enter your SSN, ITIN,
         or EIN and “Form 4506 request” on your check or money order.
    a    Cost for each return . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  $                                43.00
     b   Number of returns requested on line 7 . . . . . . . . . . . . . . . . . . . . . .
     c   Total cost. Multiply line 8a by line 8b . . . . . . . . . . . . . . . . . . . . . .                                         $
   9     If we cannot find the tax return, we will refund the fee. If the refund should go to the third party listed on line 5, check here .                      .    .   .   .
Caution: Do not sign this form unless all applicable lines have been completed.
Signature of taxpayer(s). I declare that I am either the taxpayer whose name is shown on line 1a or 2a, or a person authorized to obtain the tax return
requested. If the request applies to a joint return, at least one spouse must sign. If signed by a corporate officer, 1 percent or more shareholder, partner,
managing member, guardian, tax matters partner, executor, receiver, administrator, trustee, or party other than the taxpayer, I certify that I have the authority to
execute Form 4506 on behalf of the taxpayer. Note: This form must be received by IRS within 120 days of the signature date.
    Signatory attests that he/she has read the attestation clause and upon so reading
    declares that he/she has the authority to sign the Form 4506. See instructions.                                                  Phone number of taxpayer on line
                                                                                                                                     1a or 2a
             F F F F




                       Signature (see instructions)                                                  Date
Sign
Here                   Print/Type name                                                              Title (if line 1a above is a corporation, partnership, estate, or trust)


                       Spouse’s signature                                                            Date


                       Print/Type name
For Privacy Act and Paperwork Reduction Act Notice, see page 2.                                        Cat. No. 41721E                               Form 4506 (Rev. 11-2021)
                           Case 2:19-cv-00276-WB Document 259 Filed 07/05/22 Page 41 of 54
Form 4506 (Rev. 11-2021)                                                                                                                                            Page   2
                                                                                                                      Individuals. Copies of jointly filed tax returns may
Section references are to the Internal Revenue Code       Chart for all other returns                               be furnished to either spouse. Only one signature is
unless otherwise noted.                                                                                             required. Sign Form 4506 exactly as your name
                                                          For returns not in                                        appeared on the original return. If you changed your
Future Developments                                       Form 1040 series,                                         name, also sign your current name.
                                                                                        Mail to:
For the latest information about Form 4506 and its        if the address on                                            Corporations. Generally, Form 4506 can be
instructions, go to www.irs.gov/form4506.                 the return was in:                                        signed by: (1) an officer having legal authority to bind
                                                                                                                    the corporation, (2) any person designated by the
General Instructions                                      Connecticut, Delaware,                                    board of directors or other governing body, or (3)
                                                          District of Columbia,                                     any officer or employee on written request by any
Caution: Do not sign this form unless all applicable
                                                          Georgia, Illinois, Indiana,                               principal officer and attested to by the secretary or
lines, including lines 5 through 7, have been
                                                          Kentucky, Maine,                                          other officer. A bona fide shareholder of record
completed.
                                                          Maryland,                                                 owning 1 percent or more of the outstanding stock
Designated Recipient Notification. Internal               Massachusetts,                Internal Revenue Service    of the corporation may submit a Form 4506 but must
Revenue Code, Section 6103(c), limits disclosure          Michigan, New                 RAIVS Team                  provide documentation to support the requester's
and use of return information received pursuant to        Hampshire, New Jersey,        Stop 6705 S-2               right to receive the information.
the taxpayer’s consent and holds the recipient            New York, North               Kansas City, MO               Partnerships. Generally, Form 4506 can be
subject to penalties for any unauthorized access,         Carolina, Ohio,               64999                       signed by any person who was a member of the
other use, or redisclosure without the taxpayer’s         Pennsylvania, Rhode                                       partnership during any part of the tax period
express permission or request.                            Island, South Carolina,                                   requested on line 7.
Taxpayer Notification. Internal Revenue Code,             Tennessee, Vermont,
                                                          Virginia, West Virginia,                                     All others. See section 6103(e) if the taxpayer has
Section 6103(c), limits disclosure and use of return
                                                          Wisconsin                                                 died, is insolvent, is a dissolved corporation, or if a
information provided pursuant to your consent and
                                                                                                                    trustee, guardian, executor, receiver, or
holds the recipient subject to penalties, brought by
                                                                                                                    administrator is acting for the taxpayer.
private right of action, for any unauthorized access,     Alabama, Alaska,
other use, or redisclosure without your express           Arizona, Arkansas,                                        Note: If you are Heir at law, Next of kin, or
permission or request.                                    California, Colorado,                                     Beneficiary you must be able to establish a material
                                                          Florida, Hawaii, Idaho,                                   interest in the estate or trust.
Purpose of form. Use Form 4506 to request a copy
of your tax return. You can also designate (on line 5)    Iowa, Kansas, Louisiana,                                  Documentation. For entities other than individuals,
a third party to receive the tax return.                  Minnesota, Mississippi,                                   you must attach the authorization document. For
                                                          Missouri, Montana,                                        example, this could be the letter from the principal
How long will it take? It may take up to 75               Nebraska, Nevada, New                                     officer authorizing an employee of the corporation or
calendar days for us to process your request.             Mexico, North Dakota,         Internal Revenue Service    the letters testamentary authorizing an individual to
Where to file. Attach payment and mail Form 4506          Oklahoma, Oregon,             RAIVS Team                  act for an estate.
to the address below for the state you lived in, or the   South Dakota, Texas,          P.O. Box 9941
                                                                                                                    Signature by a representative. A representative
state your business was in, when that return was          Utah, Washington,             Mail Stop 6734
                                                                                                                    can sign Form 4506 for a taxpayer only if this
filed. There are two address charts: one for              Wyoming, a foreign            Ogden, UT 84409
                                                                                                                    authority has been specifically delegated to the
individual returns (Form 1040 series) and one for all     country, American
                                                                                                                    representative on Form 2848, line 5a. Form 2848
other returns.                                            Samoa, Puerto Rico,
                                                                                                                    showing the delegation must be attached to Form
   If you are requesting a return for more than one       Guam, the
                                                                                                                    4506.
year or period and the chart below shows two              Commonwealth of the
different addresses, send your request based on the       Northern Mariana
                                                          Islands, the U.S. Virgin                                  Privacy Act and Paperwork Reduction Act
address of your most recent return.                                                                                 Notice. We ask for the information on this form to
                                                          Islands, or A.P.O. or
                                                          F.P.O. address                                            establish your right to gain access to the requested
Chart for individual returns                                                                                        return(s) under the Internal Revenue Code. We need
(Form 1040 series)                                                                                                  this information to properly identify the return(s) and
If you filed an                                           Specific Instructions                                     respond to your request. If you request a copy of a
                                                                                                                    tax return, sections 6103 and 6109 require you to
individual return             Mail to:                    Line 1b. Enter the social security number (SSN) or        provide this information, including your SSN or EIN,
and lived in:                                             individual taxpayer identification number (ITIN) for      to process your request. If you do not provide this
                                                          the individual listed on line 1a, or enter the employer   information, we may not be able to process your
Florida, Louisiana,                                       identification number (EIN) for the business listed on    request. Providing false or fraudulent information
Mississippi, Texas, a                                     line 1a. For example, if you are requesting Form          may subject you to penalties.
foreign country, American                                 1040 that includes Schedule C (Form 1040), enter              Routine uses of this information include giving it to
                              Internal Revenue Service    your SSN.
Samoa, Puerto Rico,                                                                                                 the Department of Justice for civil and criminal
                              RAIVS Team
Guam, the                                                 Line 3. Enter your current address. If you use a P.O.     litigation, and cities, states, the District of Columbia,
                              Stop 6716 AUSC
Commonwealth of the                                       box, please include it on this line 3.                    and U.S. commonwealths and possessions for use
                              Austin, TX 73301
Northern Mariana Islands,                                                                                           in administering their tax laws. We may also
the U.S. Virgin Islands, or                               Line 4. Enter the address shown on the last return
                                                          filed if different from the address entered on line 3.    disclose this information to other countries under a
A.P.O. or F.P.O. address                                                                                            tax treaty, to federal and state agencies to enforce
                                                          Note. If the addresses on lines 3 and 4 are different     federal nontax criminal laws, or to federal law
                                                          and you have not changed your address with the            enforcement and intelligence agencies to combat
Alabama, Arkansas,                                        IRS, file Form 8822, Change of Address, or Form           terrorism.
Delaware, Georgia,                                        8822-B,Change of Address or Responsible Party —
Illinois, Indiana, Iowa,                                  Business, with Form 4506.                                   You are not required to provide the information
Kentucky, Maine,                                                                                                    requested on a form that is subject to the Paperwork
Massachusetts,                Internal Revenue Service    Line 7. Enter the end date of the tax year or period      Reduction Act unless the form displays a valid OMB
Minnesota, Missouri,          RAIVS Team                  requested in mm/dd/yyyy format. This may be a             control number. Books or records relating to a form
New Hampshire, New            Stop 6705 S-2               calendar year, fiscal year or quarter. Enter each         or its instructions must be retained as long as their
Jersey, New York, North       Kansas City, MO 64999       quarter requested for quarterly returns. Example:         contents may become material in the administration
Carolina, Oklahoma,                                       Enter 12/31/2018 for a calendar year 2018 Form            of any Internal Revenue law. Generally, tax returns
South Carolina,                                           1040 return, or 03/31/2017 for a first quarter Form       and return information are confidential, as required
Tennessee, Vermont,                                       941 return.                                               by section 6103.
Virginia, Wisconsin                                       Signature and date. Form 4506 must be signed and            The time needed to complete and file Form 4506
                                                          dated by the taxpayer listed on line 1a or 2a. The        will vary depending on individual circumstances. The
Alaska, Arizona,                                          IRS must receive Form 4506 within 120 days of the         estimated average time is: Learning about the law
California, Colorado,                                     date signed by the taxpayer or it will be rejected.       or the form, 10 min.; Preparing the form, 16 min.;
Connecticut, District of                                  Ensure that all applicable lines, including lines 5       and Copying, assembling, and sending the form
Columbia, Hawaii, Idaho,                                  through 7, are completed before signing.                  to the IRS, 20 min.
Kansas, Maryland,             Internal Revenue Service                                                                If you have comments concerning the accuracy of

                                                          F
                                                                      You must check the box in the

                                                          !
Michigan, Montana,            RAIVS Team                                                                            these time estimates or suggestions for making
Nebraska, Nevada, New         P.O. Box 9941                           signature area to acknowledge you
                                                                                                                    Form 4506 simpler, we would be happy to hear from
Mexico, North Dakota,         Mail Stop 6734                          have the authority to sign and request        you. You can write to:
Ohio, Oregon,                 Ogden, UT 84409              CAUTION the information. The form will not be
Pennsylvania, Rhode                                                                                                   Internal Revenue Service
                                                          processed and returned to you if the box is
Island, South Dakota,                                                                                                 Tax Forms and Publications Division
                                                          unchecked.                                                  1111 Constitution Ave. NW, IR-6526
Utah, Washington, West
Virginia, Wyoming                                                                                                     Washington, DC 20224.
                                                                                                                     Do not send the form to this address. Instead, see
                                                                                                                    Where to file on this page.
                Case 2:19-cv-00276-WB Document 259 Filed 07/05/22 Page 42 of 54
Form SSA-7050-F4 (02-2021)
Discontinue Prior Editions                                                                                   Page 1 of 4
Social Security Administration                                                                        OMB No. 0960-0525
               REQUEST FOR SOCIAL SECURITY EARNING INFORMATION
*Use This Form If You Need
                                                                         DO NOT USE THIS FORM TO REQUEST
1. Certified/Non-Certified Detailed Earnings Information                     YEARLY EARNINGS TOTALS
   Includes periods of employment or self-employment
   and the names and addresses of employers.                            Yearly earnings totals are free to the public
                                                                             if you do not require certification.
2. Certified Yearly Totals of Earnings
   Includes total earnings for each year but does not                    To obtain FREE yearly totals of earnings,
   include the names and addresses of employers.                       visit our website at www.ssa.gov/myaccount.



                                                 Privacy Act Statement
                                      Collection and Use of Personal Information

Section 205 of the Social Security Act, as amended, allows us to collect this information. In addition, the Budget and
Accounting Act of 1950 and Debt Collection Act of 1982 authorize us to collect credit card information, if you choose to
pay for the earnings information you have requested with a credit card. Furnishing us this information is voluntary.
However, failing to provide all or part of the information may prevent us from processing your request.

We will use the information to identify your records, process your request, and send the earnings information you request.
We may also share the information for the following purposes, called routine uses:

   1. To the Internal Revenue Service (IRS) for auditing SSA's compliance with the safeguard provisions of the Internal
      Revenue Code of 1986, as amended.

   2. To contractors and other Federal agencies, as necessary, for the purpose of, assisting the Social Security
      Administration (SSA) in the efficient administration of its programs.

   3. To banks enrolled in the Treasury credit card network to collect a payment or debt when the individual has given
      his/her credit card number for this purpose.

In addition, we may share this information in accordance with the Privacy Act and other Federal laws. For example,
where authorized, we may use and disclose this information in computer matching programs, in which our records are
compared with other records to establish or verify a person’s eligibility for Federal benefit programs and for repayment of
incorrect or delinquent debts under these programs.

A list of additional routine uses is available in our Privacy Act System of Records Notices (SORNs) 60-0059, entitled
Earnings Recording and Self-Employment Income System, 60-0090, entitled Master Beneficiary Record, 60-0224,
entitled SSA-Initiated Personal Earnings and Benefit Estimate Statement, and 60-0231, entitled Financial Transactions of
SSA Accounting and Finance Offices. Additional information and a full listing of all our SORNs are available on our
website at www.socialsecurity.gov/foia/bluebook.


Paperwork Reduction Act Statement - This information collection meets the requirements of 44 U.S.C. § 3507, as
amended by section 2 of the Paperwork Reduction Act of 1995. You do not need to answer these questions unless we
display a valid Office of Management and Budget control number. We estimate that it will take about 11 minutes to read
the instructions, gather the facts, and answer the questions. Send only comments relating to our time estimate above
to: SSA, 6401 Security Blvd, Baltimore, MD 21235-6401.
                 Case 2:19-cv-00276-WB Document 259 Filed 07/05/22 Page 43 of 54
Form SSA-7050-F4 (02-2021)                                                                                        Page 2 of 4
                 REQUEST FOR SOCIAL SECURITY EARNING INFORMATION
1. Provide your name as it appears on your most recent Social Security card or the name of the individual whose
   earnings you are requesting.

First Name:                                                                                                  Middle Initial:

Last Name:

Social Security Number (SSN)                                                One SSN per request

Date of Birth:                                                 Date of Death:

Other Name(s) Used
Maiden Name
2. What kind of earnings information do you need? (Choose ONE of the following types of earnings or SSA must return
    this request.)
   Itemized Statement of Earnings $92.00
                                                                         Year(s) Requested:                  to
   (Includes the names and addresses of employers)
   If you check this box, tell us why you need this                      Year(s) Requested:                  to
   information below.
                                                                                 Check this box if you want the earnings
                                                                                 information CERTIFIED for an additional
                                                                                 $30.00 fee.

   Certified Yearly Totals of Earnings $30.00
                                                                         Year(s) Requested:                  to
   (Does not include the names and addresses of
   employers)Yearly earnings totals are FREE to the public if you                                            to
                                                                         Year(s) Requested:
   do not require certification. To obtain FREE yearly totals of
   earnings, visit our website at www.ssa.gov/myaccount.
3. If you would like this information sent to someone else, please fill in the information below.
   I authorize the Social Security Administration to release the earnings information to:

   Name

   Address                                                                                                    State

   City                                                                                           ZIP Code
4. I am the individual to whom the record pertains (or a person authorized to sign on behalf of that individual).
   I declare under penalty of perjury that I have examined all the information on this form, and on any accompanying
   statements or forms, and it is true and correct to the best of my knowledge.
                                                                               SSA must receive this form within 120 days
      Signature AND Printed Name of Individual or Legal Guardian               from the date signed
                                                                                  Date

Relationship (if applicable, you must attach proof)                                Daytime Phone:

Address                                                                                                      State

City                                                                                          ZIP Code
Witnesses must sign this form ONLY if the above signature is by marked (X). If signed by mark (X), two witnesses to the
signing who know the signee must sign below and provide their full addresses. Please print the signee's name next to the
mark (X) on the signature line above.
1. Signature of Witness                                             2. Signature of Witness

Address (Number and Street, City, State and ZIP Code)               Address (Number and Street, City, State and ZIP Code)
                Case 2:19-cv-00276-WB Document 259 Filed 07/05/22 Page 44 of 54
Form SSA-7050-F4 (02-2021)                                                                                  Page 3 of 4
              REQUEST FOR SOCIAL SECURITY EARNING INFORMATION
                                         INFORMATION ABOUT YOUR REQUEST
          You may use this form to request earnings information for one ONE Social Security Number (SSN)
             How do I get my earnings statement?                    Is There A Fee For Earnings Information?

   You must complete the attached form. Tell us the             Yes. We charge a $92.00 fee for providing information
   specific years of earnings you want, type of earnings        for purposes unrelated to the administration of our
   record, and provide your mailing address. The itemized       programs.
   statement of earnings will be mailed to ONE address,
   therefore, if you want the statement sent to someone         1. Certified or Non-Certified Itemized Statement of
   other than yourself, provide their address in section 3.         Earnings
   Mail the completed form to SSA within 120 days of                In most instances, individuals request Itemized
   signature. If you sign with an "X", your mark must be            Statements of Earnings for purposes unrelated to
   witnessed by two impartial persons who must provide              our programs such as a private pension plan or
   their name and address in the spaces provided.                   personal injury suit. Bulk submitters may email
   Select ONE type of earnings statement and include the            OCO.Pension.Fund@ssa.gov for an alternate
   appropriate fee.                                                 method of obtaining itemized earnings information.

   1. Certified/Non-Certified Itemized Statement of                 We will certify the itemized earnings information for
      Earnings                                                      an additional $30.00 fee. Certification is usually not
       This statement includes years of self-employment or          necessary unless you are specifically requested to
       employment and the names and addresses of                    obtain a certified earnings record.
       employers.
                                                                    Sometimes, there is no charge for itemized earnings
   2. Certified Yearly Totals of Earnings                           information. If you have reason to believe your
       This statement includes the total earnings for each          earnings are not correct (for example, you have
       year requested but does not include the names and            previously received earnings information from us
       addresses of employers.                                      and it does not agree with your records), we will
                                                                    supply you with more detail for the year(s) in
   If you require one of each type of earnings statement,           question. Be sure to show the year(s) involved on
   you must complete two separate forms. Mail each form             the request form and explain why you need the
   to SSA with one form of payment attached to each                 information. If you do not tell us why you need the
   request.                                                         information, we will charge a fee.
             How do I get someone else's earnings
                            statement?                          2. Certified Yearly Totals of Earnings
                                                                    We charge $30.00 to certify yearly totals of
   You may get someone else's earnings information if you           earnings. However, if you do not want or need
   meet one of the following criteria, attach the necessary         certification, you may obtain yearly totals FREE of
   documents to show your entitlement to the earnings               charge at www.ssa.gov/myaccount. Certification is
   information and include the appropriate fee.                     usually not necessary unless you are advised
                                                                    specifically to obtain a certified earnings record.
   1. Someone Else's Earnings
       The natural or adoptive parent or legal guardian of a                   Method of Payment
       minor child, or the legal guardian of a legally          This Fee Is Not Refundable. DO NOT SEND CASH.
       declared incompetent individual, may obtain
       earnings information if acting in the best interest of       You may pay by credit card, check or money order.
       the minor child or incompetent individual. You must          • Credit Card Instructions
       include proof of your relationship to the individual             Complete the credit card section on page 4 and
       with your request. The proof may include a birth                 return it with your request form.
       certificate, court order, adoption decree, or other
       legally binding document.                                    • Check or Money Order Instructions
                                                                        Enclose one check or money order per request
   2. A Deceased Person's Earnings                                      form payable to the Social Security
       You can request earnings information from the                    Administration and write the Social Security
       record of a deceased person if you are:                          number in the memo.
       • The legal representative of the estate;
       • A survivor (that is, the spouse, parent, child,          How long will it take SSA to process my request?
         divorced spouse of divorced parent); or
       • An individual with a material interest (e.g.,              Please allow SSA 120 days to process this request.
         financial) who is an heir at law, next of kin,             After 120 days, you may contact 1-800-772-1213 to
         beneficiary under the will or donee of property of         leave an inquiry regarding your request.
         the decedent.

       You must include proof of death and proof of your
       relationship to the deceased with your request.
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Form SSA-7050-F4 (02-2021)                                                                                Page 4 of 4

               REQUEST FOR SOCIAL SECURITY EARNING INFORMATION
     • Where do I send my complete request?
      Mail the completed form, supporting documentation, If using private contractor such as FedEx mail form,
      and applicable fee to:                             supporting documentation, and application fee to:
              Social Security Administration                      Social Security Administration
              P.O. Box 33011                                      P.O. Box 33011
              Baltimore, Maryland 21290-33011                     Baltimore, Maryland 21290-33011

     • How much do I have to pay for an Itemized Statement of Earnings?

       Non-Certified Itemized Statement of Earnings                   Certified Itemized Statement of Earnings
                           $92.00                                                      $122.00
     • How much do I have to pay for Certified Yearly Totals of Earnings?
     Certified yearly totals of earnings cost $30.00. You may obtain non-certified yearly totals FREE of charge at
     www.ssa.gov/myaccount. Certification is usually not necessary unless you are specifically asked to obtain a
     certified earnings record.
                                  YOU CAN MAKE YOUR PAYMENT BY CREDIT CARD
 As a convenience, we offer you the option to make your payment by credit card. However, regular credit card rules will
         apply. You also pay by check or money order. Make check payable to Social Security Administration.
                                                                    Visa                          American Express
CHECK ONE
                                                                    MasterCard                    Discover

Credit Card Holder's Name
(Enter the name from the credit card)                                   First Name, Middle Initial, Last Name


Credit Card Holder's Address                                                        Number & Street


                                                                               City, State, & ZIP Code

Daytime Telephone Number
                                                                 Area Code
Credit Card Number

Credit Card Expiration Date
                                                                                       (MM/YY)
Amount Charged
See above to select the correct fee for your request.
Applicable fees are $30.00, $92.00, or $122.00.              $
SSA will return forms without the appropriate fee.

Credit Card Holder's Signature
                                                                    Date

                                                             Authorization

       DO NOT WRITE IN THIS SPACE                            Name                                        Date
            OFFICE USE ONLY
                                                             Remittance Control #
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Case 2:19-cv-00276-WB Document 259 Filed 07/05/22 Page 47 of 54
Case 2:19-cv-00276-WB Document 259 Filed 07/05/22 Page 48 of 54




        EXHIBIT “B”
         Case 2:19-cv-00276-WB Document 259 Filed 07/05/22 Page 49 of 54




                            UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 IN RE; INJECTAFER PRODUCTS                                  NO. 2:19-cv-00276
 LIABILITY LITIGATION


                                                             DEFENDANT FACT SHEET




For each filed case, Defendants American Regent, Inc. (ARI) Daiichi Sankyo, Inc. and Daiichi
Sankyo US Holdings, Inc., (collectively, DSI) and Vifor International AG (Vifor) must each
complete this Defendant Fact Sheet (“DFS”) and produce documents, in accordance with Order
No. XX. This DFS shall supplement the information previously provided with ARI and DSI’s
Defendant Profile Forms (“DPF”) completed in accordance with Case Management Order No. 3,
but ARI and DSI must still supplement their DPF if either Defendant learns that the DPF is
incomplete or incorrect.

In completing this DFS, each Defendant shall provide information that is true and correct to the
best of each Defendant’s knowledge and upon good faith investigation. Each Defendant shall
identify any documents produced in response to a question or request herein by document
number or Bates range, shall supplement responses if Defendant learns that they are incomplete
or incorrect, and may attach additional sheets of paper as necessary.

Definitions:

 “Responding defendant” shall refer to the Defendant responding to this DFS as identified in
Section I A, and any officers, agents, employees, vendors, representatives, or others acting on
their behalf.

 “Ferric carboxymaltose,” or “FCM”, shall refer to the iron replacement product administered
directly into the vein to treat adults with iron deficiency anemia, known by the brand name of
Injectafer® in the United States (and Ferinject® outside the United States).

“Plaintiff” means the party filing a lawsuit and alleging an injury relating to use of Injectafer.
 “Document” shall refer to “any designated documents or electronically stored information –
including writings, drawings, graphs, charts, photographs, sound recordings, images, and other
data or data complications – stored in any medium from which information can be obtained
either directly or, if necessary, after translation by the responding party into a reasonably useable
form,” in Defendants’ possession, custody, or control, and consistent with Fed. R. Civ. P.
34(a)(1)(A).




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I.      CASE INFORMATION

        A. This DFS is submitted by Defendant _________________________________

        B. This DFS pertains to:

        Case caption: ______________________________________________________

        Civil Action No.: ___________________________________________________



II.     INFORMATION REGARDING PLAINTIFF’S HEALTHCARE PROVIDERS

        A. To the extent not already provided in the DPF, indicate if the Prescribing Healthcare
           Provider(s) identified in section III of the Plaintiff Fact Sheet (“PFS”) or the Treating
           Healthcare Provider(s) identified by Plaintiff in Section VI of the Plaintiff Profile
           Form (“PPF”)


                 1. Contacted the responding Defendant or been contacted by the responding
                 Defendant via phone call, in-person contact, or in writing through the call or
                 contact centers, the medical affairs or pharmacovigilance employees, or the
                 custodians already identified in this case, from five years before Plaintiff’s first
                 Injectafer prescription through and including the latest date in the “Approximate
                 Date Range” as set forth in Section VI B of the PPF, regarding ferric
                 carboxymaltose. Yes ___ No ___


                        If yes, to the extent not previously provided in the DPF, identify the
                        Healthcare Provider(s), the date(s) of contact, the name, title, and
                        employer of the recipient of the contact from the Healthcare Provider or
                        the name, title, and employer of the individual who contacted the
                        Healthcare Provider, the nature of the contact, and whether a response was
                        sent. To the extent not previously produced and identified with the DPF,
                        produce and identify any documents related to this contact.


                 2. Attended Continuing Medical Education courses, conferences, or other
                 presentations that were sponsored or organized in full or in part by the responding
                 Defendant in which ferric carboxymaltose, or hypophosphatemia and/or
                 osteomalacia, was specifically discussed, from five years before Plaintiff’s first
                 Injectafer prescription through and including the latest date in the “Approximate
                 Date Range” as set forth in Section VI B of the PPF.          Yes ___ No ___




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                        If yes, to the extent not previously provided in the DPF, identify the
                        Healthcare Provider(s), the date of attendance, and the name and the
                        location of the course, conference, or other presentation. To the extent
                        not previously produced and identified with the DPF, produce any
                        documents presented or provided at the presentation by the responding
                        Defendant as well as any speakers’ notes associated with responding
                        Defendant.


                 3. Served as a clinical investigator, advisory board participant, key opinion
                 leader, speaker, or consultant for the responding Defendant, from five years
                 before Plaintiff’s first FCM prescription to present.
                  Yes____ No_____


                        If yes, to the extent not previously provided in the DPF, identify the
                        Healthcare Provider(s), the date(s) the Healthcare Provider was consulted,
                        retained, and/or compensated, the nature of the affiliation, and state the
                        amount of compensation. To the extent not previously produced with the
                        DPF, produce any contracts, agreements to participate, non-disclosure
                        agreements, or correspondence with each Healthcare Provider(s) related to
                        said contracts, agreements to participate, non-disclosure agreements,
                        identifying which document relates to which Healthcare Provider(s).

                  4. Been sent, shown, given, or provided by responding Defendants marketing,
                     promotional, advertising materials, or other literature regarding FCM from
                     five years before Plaintiff’s first Injectafer prescription through and
                     including the latest date in the “Approximate Date Range” as set forth in
                     Section VI B of the PPF, regarding ferric carboxymaltose. Yes ___ No ___

                        If yes, to the extent not previously provided in the DPF, identify the
                        Healthcare Provider(s), the individual who sent, showed, or provided the
                        documents to the Healthcare Provider and the title and company for
                        whom that individual worked, the date the documents were shown or
                        provided, and the method of contact. To the extent not previously
                        produced and identified with the DPF, produce and identify all
                        responsive documents.

        B. To the extent not already provided in the DPF, as to responding Defendants ARI and
           DSI only, for the Prescribing Healthcare Provider(s) identified in Section III or the
           Treating Healthcare Provider(s) in Section VI of the Plaintiff Profile Form (“PPF”):

                 1. Identify by name and employer all Sales or Detail Representatives, Medical
                    Science Liaisons (“MSLs”), or Tele-detailer(s) who were employed or
                    contracted by or on behalf of the responding Defendant and who contacted the
                    Healthcare Provider in person, in writing, or via the phone or via tele-detailing
                    regarding FCM in the five years before Plaintiff’s first FCM prescription



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                      through and including the latest date in the “Approximate Date Range” as set
                      forth in Section VI B of the PPF, regarding ferric carboxymaltose.

                 2. Identify by name and employer the Territory Manager(s), District Manager(s),
                    manager(s), and/or Sales Manager(s)who oversaw the Sales or Detail
                    Representative, Medical Science Liaison, or Tele-detailer in the DPF or in
                    response in response to Question B(1) above for the five years before
                    Plaintiff’s first FCM prescription through and including the latest date in the
                    “Approximate Date Range” as set forth in Section VI B of the PPF, regarding
                    ferric carboxymaltose. If no Sales or Detail Representative is identified by the
                    responding Defendant in the DPF or in response in response to Question B(1)
                    above, identify by name and employer the Territory and District Manager(s)
                    responsible for the territory covering the Healthcare Provider for the five years
                    before Plaintiff’s first FCM prescription through and including the latest date
                    in the “Approximate Date Range” as set forth in Section VI B of the PPF.


                 3. To the extent not previously produced with the DPF, produce:

                         a. FCM call notes on each Healthcare Provider(s), and correspondence to
                            each Healthcare Provider(s) from Sales or Detail Representatives,
                            MSLs, or tele-detailers, within five years before the first prescription
                            of Injectafer through and including the latest date in the “Approximate
                            Date Range” as set forth in Section VI B of the PPF, regarding ferric
                            carboxymaltose.

                         b. Copies of or identify specific Bates reference(s) to any documents
                            identified in the call notes that were shown or sent to each Healthcare
                            Provider, identifying which document relates to which Healthcare
                            Provider(s).


        C. For each Prescribing Healthcare Provider(s) identified in section III of the PPF, state
           whether you have in your possession prescriber-level information reflecting, in whole
           or in part, the Prescribing Healthcare Provider’s administrations of FCM, including
           but not limited to the number of administrations, in whole or in part, and the
           timeframe when FCM was administered. Yes ___ No ___


                  If yes, produce or identify by Bates range any documents showing the FCM
                  administrations ordered by the Prescribing Healthcare Provider(s). Plaintiffs
                  understand and agree that Defendants cannot verify the accuracy and/or
                  completeness of any data responsive to this request that was prepared by a third-
                  party, and they reserve the right to object to the admissibility of any such data.




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III.     INFORMATION REGARDING THE PLAINTIFF


        A. Preceding the filing of Plaintiff’s complaint, did responding Defendant perform or
           receive any non-privileged analysis or review of information, medical records, or
           medical/scientific information concerning Plaintiff, his or her use of FCM, and the
           potential that his or her injuries were related to FCM? This request does not ask the
           responding Defendant to reveal or produce privileged information, including but not
           limited to work product of attorneys or of experts who were retained for this
           litigation. Yes ___ No ___


                 If yes, identify the person(s) or department performing the analysis or review and
                 produce and identify any documents related to the analysis.


                 If the responding Defendant is withholding responsive and otherwise discoverable
                 documents based on privilege, the responding Defendant shall produce a privilege
                 log pursuant to FRCP 26(b)(5).

        B. Produce a copy of any Adverse Event Report that relates to Plaintiff and his or her
           use of FCM, as well as the related adverse event source file, including but not limited
           to causality assessments, medical records, and non-privileged investigative reports or
           analysis. C. Produce or identify by Bates number any non-privileged surveillance,
           information, investigation, report, or document concerning Plaintiff.

        D. Excluding any expert opinions developed in connection with this litigation, if you
           contend that any person, entity, medical condition, food, medication, or product –
           other than the responding Defendant and Injectafer – is a cause of the Plaintiff’s
           alleged injuries (“Alternate Cause”):

             1. Identify the Alternate Cause with specificity.

             2. Set forth the date(s) and mechanism of Alternate Cause.

             3. Identify any non-privileged documents relating to this conclusion.




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                             DEFENDANT’S CERTIFICATION


         I am employed by _______________, one of the Defendants in this litigation. I hereby
certify that the information provided in the accompanying Defendant Fact Sheet is not within my
personal knowledge, but the facts stated herein have been assembled by authorized employees
and counsel, upon which I relied. I hereby certify, in my authorized capacity, that the responses
to the Defendant Fact Sheet are true and complete the best of my knowledge and belief, and that
I have engaged in best efforts to identify, locate, and support all of the documents requested in
this DFS. I acknowledge that I have an obligation to supplement the above responses, in
accordance with the Federal Rules of Civil Procedure, if I learn that they are in some material
respect incomplete or incorrect.

Date: _________________________

Name: ________________________

Title: _________________________

Signature: ___________________________




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